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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

H.I.D.R., et al.,

        Petitioners-Plaintiffs,

                                                             No. l:25-CV-060-H

DONALD J. TRllMP, in his official
capacity as President ofthe United States, et
al.,

        Respondents-Defendants.

                                           ORDER
       Before the Court is the petifioners' unopposed motion to proceed under pseudonyms.

Dkt. No. 7. Given the sensitive and personal information about thet immigration status

and histories in this case, the Court gants the motion (Dkt. No. 7). The pefitioners may

proceed under the pseudonyms H.I.D.R. and O.A.S.

       So ordered on April z?- , 2025.




                                                 JAMES       SLEY HENDRIX
                                                           STATES DISTzuCT JUDGE
